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                       Nos. 23-35440 & 23-35450

  In the United States Court of Appeals for the Ninth Circuit
__________________________________________________________________
                       UNITED STATES OF AMERICA,
                           Plaintiff-Appellee,
                                    v.
                          THE STATE OF IDAHO,
                         Defendant-Appellant.


                   UNITED STATES OF AMERICA,
                         Plaintiff-Appellee,
                                  v.
                       THE STATE OF IDAHO
                            Defendant,
                                  v.
  MIKE MOYLE, Speaker of the Idaho House of Representatives; et al.,
                     Intervenors-Appellants.


            Appeal from the United States District Court
                      for the District of Idaho
                    Honorable B. Lynn Winmill
                        (1:22-cv-00329-BLW)
_________________________________________________________________
      EMERGENCY MOTION UNDER CIRCUIT RULE 27-3
        (RELIEF REQUESTED BY NOVEMBER 15, 2023)
__________________________________________________________________
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                 CIRCUIT RULE 27-3 CERTIFICATE

     The undersigned certifies that the following is the information re-

quired by Circuit Rule 27-3.

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     (ii)   Facts showing the existence and nature of the emergency.

     The Idaho Legislature is suffering significant irreparable harm

from the district court’s preliminary injunction. That harm will continue

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unabated until the en banc Court issues a decision concerning the motion

for a stay pending appeal. That injury arises because this Court’s order

dated October 10, 2023, Dkt. 671 (October 10 Order) granted the United

States’ emergency motion for en banc reconsideration and vacated a

unanimous panel decision issuing a stay.

     Vacatur is the crux of the problem, since it revived the district

court’s preliminary injunction prohibiting the enforcement of Idaho Code

§ 18-622. A State suffers “ongoing irreparable harm” whenever it is “en-

joined by a court from effectuating statutes enacted by representatives of

its people.” Maryland v. King, 567 U.S. 1301, 1303 (2012) (Roberts, C.J.,

in chambers) (quotation omitted). No wonder the panel held that “the

State easily meets its burden of showing irreparable harm.” Order of

Sept. 28, 2023 at 14, Dkt. 47 (Panel Op.).

     An emergency exists because the Legislature needs a prompt deci-

sion by the en banc Court to limit the irreparable injury caused by the

vacatur’s revival of the preliminary injunction.




1 All docket references in this Motion are to entries under No. 23-35450,

the Legislature’s appeal.

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     (iii) Earlier filing.

     Circuit Rule 27-3(c)(iii) asks the movant to explain “why the motion

could not have been filed earlier.” Although the question might be read

to suggest that a motion should have been filed within days of the October

10 Order, the reality is more complex.

     Neither the Federal Rules of Appellate Procedure (FRAP) nor Cir-

cuit Rules directly addresses the exact situation here—where an

expedited decision, rather than an expedited briefing schedule or hear-

ing, is needed to mitigate irreparable harm. See Circuit Rule 27-12. Filing

an emergency motion should not be taken lightly. Doing so right after the

October 10 Order would have signaled disrespect for the Court’s internal

processes, its need to assemble an en banc panel and come to a collective

decision. Also weighing against an immediate motion was the unusual

pace of motions practice leading up to the Order. Given the Court’s rapid-

fire response to the United States’ emergency motion, we assumed a

quick decision by the en banc Court. That hasn’t happened.

     Weeks have passed without a decision, while the Legislature con-

tinues to suffer irreparable harm. In making a judgment when to seek

relief, we looked for guidance to the 21-day period for emergency relief


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under Circuit Rule 27-3 and the 20-day period for the panel to issue its

decision. Based on these, it’s our judgment that an emergency motion is

appropriate once 21 days have elapsed after the October 10 Order. That

calculus makes the target date October 31. This motion is filed the fol-

lowing day.

     (iv)   Notice to counsel.

     Counsel for the United States was notified of this emergency motion

by email at 3:24 p.m. PT on October 31, 2023. Counsel for the United

States has communicated that it takes no position. This motion and sup-

porting documents will be served via email by using the appellate

CM/ECF system. The Clerk’s Office was notified of the Legislature’s in-

tent to file this motion by phone call today.

     (v)    Submissions to the district court.

     The requested relief is unavailable from the district court, because

an expedited en banc decision can only be issued by this Court.

                                                            /s Daniel W. Bower
                                                               Daniel W. Bower




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                             INTRODUCTION

     Pursuant to FRAP 27(a)(1) and Circuit Rule 27-3, Intervenors-Ap-

pellants Mike Moyle, et al. (Idaho Legislature or Legislature) respectfully

request an expedited decision regarding the pending motion for a stay

pending appeal by November 15, 2023. The Idaho Legislature “needs re-

lief within 21 days to avoid irreparable harm.” Circuit Rule 27-3.

     On October 10, 2023, the Court issued an order granting the United

States’ emergency motion for reconsideration en banc of a unanimous

panel decision. See October 10 Order. The Legislature has no quarrel

with that aspect of the Order. But the same Order also vacated the panel

decision, which granted the Legislature’s motion for a stay pending ap-

peal. Panel Op. at 18. By vacating that decision, the October 10 Order

revived a preliminary injunction prohibiting the enforcement of Idaho

Code § 18-622, an Idaho law prohibiting abortion unless expressly au-

thorized. Every day it is in force, that injunction irreparably harms the

Legislature. To avoid prolonging the injury, this motion asks for a deci-

sion on the pending motion to issue promptly.

     Three reasons support the Legislature’s requested relief.
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     First, the Idaho Legislature readily satisfies the chief condition of

emergency relief—demonstration of irreparable harm. Supreme Court

precedent unmistakably establishes that a State suffers “ongoing irrepa-

rable harm” whenever it is “enjoined by a court from effectuating statutes

enacted by representatives of its people.” King, 567 U.S. 1303 (Roberts,

C.J., in chambers). By reinvigorating the district court’s preliminary in-

junction, the vacatur contained in the October 10 Order exposes the State

of Idaho to such harm. Emergency relief cannot eliminate irreparable

harm to the Legislature because that harm inevitably results from vacat-

ing the panel decision. But granting the Legislature emergency relief will

mitigate the harm by cutting short the time for awaiting this Court’s de-

cision. Either way, a decision by the en banc Court is preferable to

continued delay. A favorable decision will stop the irreparable harm by

granting the requested stay, and an adverse decision will invite a plea for

relief from the Supreme Court.

     Second, the Legislature should receive the same consideration for

its request for emergency relief that the United States has generously

received. The government not only obtained en banc reconsideration of

the panel decision granting a stay, it got that relief uncommonly fast, as


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the timeline below shows. Since the Court’s order granting en banc re-

view exposes the Legislature to irreparable harm by vacating the panel

decision, its request for an expedited decision is reasonable.

     Third, judicial economy would be served by issuing a decision

promptly. The en banc decision will be important, no doubt, but it will

not be conclusive. It is the Supreme Court that will finally determine

whether a stay pending appeal issues in this matter. Delivering an en

banc decision soon will avoid wasting scarce judicial resources in a mat-

ter where the Supreme Court is likely to be engaged.

                    PROCEDURAL BACKGROUND

     Pending before the Court is the Legislature’s motion for a stay

pending appeal from a district court decision issuing a preliminary in-

junction that prohibits full enforcement of Idaho Code § 18-622.

Intervenors-Appellants’ Opposed Motion to Stay Prelim. Inj. Pending Ap-

peal, Dkt. 29. A unanimous three-judge panel issued a stay, holding that

“the traditional stay factors favor granting the Legislature’s motion.”

Panel Op. at 18. The panel’s logic is compelling.

     Each of the four Nken [v. Holder, 556 U.S. 418 (2009)] factors
     favors issuing a stay here. The Legislature has made a strong
     showing that EMTALA does not preempt section 622. EM-
     TALA does not require abortions, and even if it did in some

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      circumstances, that requirement would not directly conflict
      with section 622. The federal government will not be injured
      by the stay of an order preliminarily enjoining enforcement of
      a state law that does not conflict with its own. Idaho, on the
      other hand, will be irreparably injured absent a stay because
      the preliminary injunction directly harms its sovereignty.
      And the balance of the equities and the public interest also
      favor judicial action ensuring Idaho’s right to enforce its legit-
      imately enacted laws during the pendency of the State’s
      appeal.

Id. at 4.

      Yet less than two weeks later, the Court granted the United States’

emergency motion and vacated the panel decision. October 10 Order at 1.

Vacating a panel decision when granting rehearing en banc appears to be

“common practice.” Animal Legal Def. Fund v. Veneman, 490 F.3d 725,

727 (9th Cir. 2007) (Bybee, J., concurring). Ordinarily, the losing party

suffers no lasting harm from vacatur under these circumstances.

      But this case is extraordinary. Vacating the panel decision here

eliminated the stay protecting the State of Idaho from the district court’s

preliminary injunction. Exposed to the full force of the preliminary in-

junction, the State once again faces irreparable harm. Issuing a decision

promptly is needed to mitigate that harm, or at least limit its duration.




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                                ARGUMENT

I.   EXPEDITING THE DECISION IS NECESSARY TO AVOID
     PROLONGING THE IRREPARABLE INJURY IMPOSED BY
     THE PRELIMINARY INJUNCTION.

     A familiar standard sets the terms for obtaining a stay pending ap-

peal. The Idaho Legislature must show that (1) it is likely to succeed on

the merits; (2) it will be irreparably injured absent a stay; (3) a balance

of the equities favors a stay; and (4) a stay serves the public interest.

Nken, 556 U.S. at 434.

     Irreparable harm is also the crucial factor under Circuit Rule 27-3.

What prompts the Legislature’s motion is that portion of the October 10

Order vacating the panel decision. We understand that vacating a panel

opinion in an order granting rehearing en banc is “common practice.” An-

imal Legal Def. Fund, 490 F.3d at 727 (Bybee, J., concurring). Sound logic

justifies the practice. “By granting rehearing en banc, [the Court is] not

engaging in another level of appellate review…. Any decision [it] issue[s]

necessarily displaces whatever judgment and opinion the panel previ-

ously issued, whether or not it is consistent with the en banc opinion.” Id.

at 728. Ordinarily, the losing party suffers no lasting harm from vacatur.




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     But this is not the ordinary case. By reinvigorating the preliminary

injunction, vacatur exposes the State of Idaho and the Idaho Legislature

to irreparable injury. Supreme Court precedent establishes that a State

suffers “ongoing irreparable harm” whenever it is “enjoined by a court

from effectuating statutes enacted by representatives of its people.” King,

567 U.S. at 1303 (Roberts, C.J., in chambers) (quoting New Motor Vehicle

Bd. v. Orrin W. Fox Co., 434 U.S. 1345, 1351 (1977) (Rehnquist, J., in

chambers)); accord Abbott v. Perez, 138 S. Ct. 2305, 2324 n.17 (2018)

(“[The inability to enforce its duly enacted plans clearly inflicts irrepara-

ble harm on the State.”). Every day that passes with a federal injunction

in force prevents the State from carrying out a duly adopted law reflect-

ing Idaho’s historic policy disfavoring abortion. See Planned Parenthood

Great N.W. v. State, 522 P.3d 1132, 1148 (Idaho 2023) (describing Idaho’s

“history and traditions” prohibiting abortion unless authorized by law).

Blocking the operation of Idaho law is a standalone injury.

     Beyond the intrinsic harm of impeding Idaho law, the preliminary

injunction prevents the exercise of Idaho’s sovereign authority to regu-

late abortion, which the Supreme Court has definitively endorsed. See

Dobbs v. Jackson Women’s Health Org., 142 S. Ct. 2228, 2284 (2022)


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(holding that “[t]he Constitution does not prohibit the citizens of each

State from regulating or prohibiting abortion,” and, accordingly, “re-

turn[ing] that authority to the people and their elected representatives.”).

     Nor is there any doubt that the Legislature can properly invoke the

irreparable harm imposed by the preliminary injunction. Any argument

that only the Idaho Attorney General and not the Legislature can invoke

the harm from a federal injunction is “a distinction without a difference.”

Panel Op. at 14. After all, Idaho law expressly authorizes the Legislature

to intervene in litigation to defend State law. See IDAHO CODE § 67-465.

When the Legislature’s leaders exercise that authority, as here, they act

“as agents of the state of Idaho and as a matter of right.” Id. § 67-465(1).

The Legislature is therefore legally authorized to invoke the irreparable

injuries caused by the preliminary injunction.2

     The United States will not suffer substantial harm without an in-

junction. Circuit precedent rightly rebuffs “general pronouncements that

2 Another reason prompting this motion is the Legislature’s experience

before the district court. It took only 22 days after the complaint to issue
the preliminary injunction, following an expedited schedule demanded by
the United States. 2-ER-90. Fourteen days after, the Legislature filed a
motion for reconsideration. 2-LEG-ER-270. But the district court let the
motion sit undecided for another eight months. 1-LEG-ER-2. As the
State’s authorized representative, IDAHO CODE § 67-465, the Legislature
must do what it can to avoid repeating that experience.
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a Supremacy Clause violation alone constitutes sufficient harm to war-

rant an injunction.” United States v. California, 921 F.3d 865, 894 (9th

Cir. 2019). But “[g]eneral pronouncements” are all the government has

to offer. Id. Letting a preempted state law operate might impose irrepa-

rable harm on the United States—but only if its claim of preemption is

likely to prevail. See United States v. Arizona, 641 F.3d 339, 366 (9th Cir.

2011), rev’d in part on other grounds, 567 U.S. 387 (2012). And that seems

highly doubtful in this case. The panel rejected the government’s preemp-

tion theory unanimously. Panel Op. at 4 (“EMTALA does not preempt

section 622.”). Since its preemption theory is highly questionable (we

would say incorrect), any harm the United States incurs from waiting to

persuade an appellate panel before enjoining Idaho law is hardly “irrep-

arable” since the government “may yet pursue and vindicate its interests

in the full course of this litigation.” Washington v. Trump, 847 F.3d 1151,

1168 (9th Cir. 2017) (per curiam), cert. denied sub nom. Golden v. Wash-

ington, 138 S. Ct. 448 (2017).3

3 Other allegations of irreparable injury by the United States are equally

unconvincing. Idaho’s purported interference with the government’s ad-
ministration of the Medicare program is inseparable from the
government’s preemption claim. And the United States cannot demon-
strate irreparable harm to itself by alleging hypothetical (and overstated)
risks to nonparties. See Nken, 556 U.S. at 426.
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      Added to which, the precise question raised by this motion is not

whether to issue a stay but whether to grant expedited review. On that

question, the United States cannot fairly assert substantial harm. Expe-

diting review does not affect the substance of the Court’s decision. The

United States has no legitimate reason to oppose an expedited decision—

unless of course one credits the argument that granting the Legislature’s

requested relief would deny the government the benefit of a delay that

keeps the preliminary injunction in place without prompt judicial review.

We certainly don’t.

      The parties thus stand in an asymmetrical position. Expediting the

en banc decision would prevent avoidable injury to the Legislature but

pose no injury to the United States. Given that balance of harms, grant-

ing the Legislature’s requested relief should be an easy choice.

II.   EMERGENCY RELIEF SHOULD BE EXTENDED TO THE
      LEGISLATURE ON THE SAME GENEROUS TERMS THAT
      IT WAS GIVEN TO THE UNITED STATES.

      Asking for an en banc decision within the next two weeks may seem

audacious, but it is perfectly reasonable when considered in context of

the Court’s response to the United States’ emergency motion. Here’s the

timeline leading up to the October 10 Order:


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     ¨ On August 22, the Legislature filed its motion for a stay pending
       appeal (Dkt. 29), and on September 8, briefing on the motion fin-
       ished with the Legislature’s reply. Dkt. 32.

     ¨ On September 28, a unanimous three-judge panel issued an 18-
       page opinion granting the stay. Dkt. 47.

     ¨ On September 30, the United States filed an emergency motion
       for reconsideration en banc. Dkt. 51.

     ¨ That same day, Saturday, September 30, 2023 an order issued
       directing the State of Idaho and the Idaho Legislature to file a
       response by October 4 at 10:00 am. Dkt. 52.

     ¨ On October 4, the Legislature filed a timely response. Dkt. 58.

     ¨ On October 5, the United States filed a Motion for Leave to File
       Reply (Dkt. 63), which the Court granted that same day. Dkt. 64.

     ¨ On October 10, the date requested by the United States, the
       Court issued an order granting en banc reconsideration and va-
       cating the panel decision. Dkt. 67.

     Notice three features of this timeline. One, only 10 days separated

the United States’ emergency motion from the order granting en banc

reconsideration and vacating the panel decision. Compare Dkt. 51 with

Dkt. 67. Two, both the scheduling order prescribing a deadline for the

appellants’ responses and the order granting leave for the government to

file a reply were issued the same day as the corresponding papers filed

by the United States. See Dkt. 52, Dkt. 64. Three, the scheduling order of

September 30 allowed the Legislature and the State a mere two business

days plus early morning hours to prepare and file their responses. Dkt.

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52. That pace is extraordinary. Except for cases of capital punishment,

immigration, or national security, counsel knows of no other case where

motions practice before this Court has moved that rapidly.

     Twenty-one days have now passed since the October 10 Order. Con-

sidering the pace leading up to the Order and the irreparable injuries

caused by vacating the panel decision, the Legislature’s request for an en

banc decision by November 15, 2023 is reasonable.

     It should make no difference that the Legislature’s request for

emergency relief originates in a dispute over Idaho’s abortion law. Dobbs,

142 S. Ct. at 2228, condemned any effort “to engineer exceptions to

longstanding background rules” when confronted with a case involving

abortion. Id. at 2276. Under Dobbs, a distaste for Idaho’s abortion policy

cannot warrant a one-sided approach to emergency relief. A bona fide

emergency for the Legislature merits the same generous treatment that

the Court has extended to the United States. Considering the irreparable

harm to the Legislature and the unusual responsiveness accorded the

government’s request for emergency relief, this motion should be granted

and the en banc panel’s decision issued promptly.




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III. AN EXPEDITIOUS EN BANC DECISION WILL ADVANCE
     JUDICIAL ECONOMY.

      Faced with “ongoing irreparable harm,” King, 567 U.S. at 1303, the

Idaho Legislature is determined to secure relief—from the Supreme

Court if necessary. That means, with respect, that the en banc Court’s

decision is important but not conclusive. The fate of the Legislature’s mo-

tion for a stay pending appeal ultimately rests with the Supreme Court.

Lingering over the en banc determination would waste scarce judicial re-

sources on a question of temporary relief that only the High Court can

finally resolve.

                               CONCLUSION

      For these reasons, the Legislature requests an en banc decision con-

cerning its motion for a stay by November 15, 2023.

                                     Respectfully submitted,

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November 1, 2023

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       CERTIFICATE OF COMPLIANCE PURSUANT TO
    CIRCUIT RULE 32-1 FOR CASE NOS. 23-35440 & 23-35450

     I hereby certify that this brief complies with the word limits per-

mitted by FRAP 27(d)(2)(A). The motion is 2,438 words, excluding the

cover and documents exempted by FRAP 27(d)(2) and Circuit Rule 27-

1(1)(d). The brief’s type size and typeface comply with FRAP 32(a)(5)

and (6).



Dated: November 1, 2023              /s/ Daniel W. Bower
                                     Daniel W. Bower



                                     Counsel for Intervenors - Appellants
